                       IN THE UNITED STATES DISTRICT COURT FOR
                            THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION

       UNITED STATES OF AMERICA,

       Plaintiff,
       v.                                            Case No. 4:21-cv-00283-SMR-SHL

       DANIEL GINGERICH                              EX PARTE MOTION FOR TEMPORARY
                                                     RESTRAINING ORDER
       Defendant.
                                                     EXPEDITED RELIEF REQUESTED




       COME NOW the United States respectfully moves for an ex parte temporary restraining

order under Federal Rule of Civil Procedure 65(b)(1) against Daniel Gingerich, his agents,

servants, employees, and those working in active concert with him. As set forth in the

accompanying Memorandum of Authorities in Support of Ex Parte Motion for Temporary

Restraining Order, the United States is likely to succeed on the merits of its claim that Gingerich

is placing the health of his dogs in serious danger in violation of the Animal Welfare Act

(“AWA”), and its regulations and standards (9 C.F.R. §§ 1.1-3.142). 7 U.S.C. § 2159(a). In just

the last six months, Gingerich, an AWA-licensed dealer, has been cited for at least 100 violations

of AWA regulations and standards that are meant to ensure the humane treatment and handling

of AWA-protected animals, such as Gingerich’s dogs. Gingerich has failed to meet even the

minimum standards of care for the dogs, including adequate veterinary care, sufficient nutritious

food, potable water, and sanitary living conditions, thereby placing the health of those animals in

serious danger. 7 U.S.C. § 2159(a).

       The United States requests that the Court enjoin Gingerich, his agents, servants,



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employees, and those working in active concert with him, from placing the health of the dogs in

their possession, custody, care or control in serious danger. Specifically, the United States

requests that the Court order Gingerich, his agents, servants, employees, and those working in

active concert with him to:

       (1)     provide to undersigned counsel within 7 days of the Court’s order a list of every

               location at which they have any dogs that are intended for breeding or sale as of

               the date of the filing of this motion, see 9 C.F.R. § 1.1 (definition of dealer);



       (2)     provide to undersigned counsel within 7 days of the Court’s order an animal

               inventory for each location identified in paragraph (1), listing the breed, sex, age,

               and unique identification number, see paragraph (3), of each and every dog at

               each of the identified locations;


       (3)     assign within 7 days of the Court’s order a unique identification number to each

               dog listed on the inventories provided pursuant to paragraph (2), consistent with 9

               C.F.R. § 2.50(a)(1);


       (4)     ensure that, within 14 days of the Court’s order, every dog listed on the

               inventories receives a “complete physical examination from head to tail,” as

               required by 9 C.F.R. § 3.13(a)(2), by a licensed veterinarian other than Dr.

               William McClintock or any other veterinarian associated with Country Village

               Animal Clinic, Centerville, Iowa;


       (5)     provide complete veterinary records for the “complete physical examinations”

               required by paragraph (4) and any veterinary care otherwise provided to any dog



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       to undersigned counsel within 7 days of the animal being seen by a veterinarian;


(6)    provide to undersigned counsel within 7 days of the Court’s order up-to-date

       written programs of veterinary care that comply with 9 C.F.R. § 2.40(b) and

       3.13(a) for each location identified in paragraph (1);


(7)    ensure that a licensed veterinarian, other than Dr. William McClintock or any

       other veterinarian associated with Country Village Animal Clinic, Centerville,

       Iowa, documents the vaccination status of every dog identified in paragraph (2),

       timely vaccinates all dogs consistent with the vaccination schedule set out in the

       relevant written program of veterinary care, and accurately documents the

       vaccinations and make those documents available to USDA Animal and Plant

       Health Inspection Service inspectors upon request;


(8)    immediately cease from acquiring by birth or transfer or disposing by euthanasia

       or transfer any dogs listed on the inventories in paragraph (2) without the consent

       of the United States or a court order;


(9)    in the case of any dogs who were already pregnant at the time of the Court’s

       order, provide notice to undersigned counsel within 72 hours of the birth of any

       puppies, including the number of puppies born, the identification number of the

       dam, and the identification numbers assigned to the puppies, see 9 C.F.R. §

       2.50(a)(1); see also 9 C.F.R. § 2.75; and


(10)   if any dogs listed on the inventories provided pursuant to paragraph (2) die, have

       a licensed veterinarian, other than Dr. William McClintock or any other



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              veterinarian associated with Country Village Animal Clinic, Centerville, Iowa,

              confirm the death in person and document the condition of the dog; the

              veterinarian’s record of death must be provided to undersigned counsel with 72

              hours of the death of the animal.

This relief reflects the AWA requirements that Gingerich agreed to comply with when he applied

for and was granted an AWA license.

       A temporary restraining order is both mandated by the AWA and necessary to ensure the

humane care and treatment of the dogs in Gingerich’s possession, custody, care or control. This

motion is supported by the accompanying memorandum, and declarations and exhibits attached

thereto.

     DATED: September 27, 2021

                                     TODD KIM
                                     Assistant Attorney General
                                     Environment and Natural Resources Division

                                     /s/ Mary Hollingsworth
                                     MARY HOLLINGSWORTH
                                     Senior Trial Attorney
                                     U.S. Department of Justice
                                     Environment & Natural Resources Division
                                     999 18th Street, South Terrace, Rm. 370
                                     Denver, CO 80202
                                     SHAMPA A. PANDA
                                     Trial Attorney
                                     United States Department of Justice
                                     Environment & Natural Resources Division
                                     Wildlife & Marine Resources Section
                                     P.O. Box 7611, Ben Franklin Station
                                     Washington, D.C. 20044-7611
                                     Mary.hollingsworth@usdoj.gov | 202-598-1043
                                     Shampa.panda@usdoj.gov | 202-598-3799
                                     Fax: 202-305-0275

                                     RICHARD D. WESTPHAL
                                     Acting United States Attorney



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DAVID L.D. FAITH II
Assistant United States Attorney
U.S. Attorney’s Office for the Southern District of Iowa
110 E. Court Ave., Suite 286
Des Moines, IA 50309
Tel: (515) 473-9353
david.faith@usdoj.gov

Attorneys for the United States of America




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date, I electronically filed the foregoing with the Clerk of

Court using the CMECF system. The foregoing will also be served along with the Complaint and

Summons on Defendant Daniel Gingerich.

DATE: September 27, 2021

                                                                      /s/ Mary Hollingsworth
                                                                      Mary Hollingsworth




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